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 6 NATHAN THOMAS BAPTISTA

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:24-CR-00143-KES-BAM
12                                Plaintiff,            STIPULATION TO MODIFY PRETRIAL
                                                        RELEASE CONDITIONS; ORDER
13                          v.
14   NATHAN THOMAS BAPTISTA,
15                               Defendants.
16

17

18          Plaintiff United States of America, by and through its counsel of record ARIN HEINZ, and

19 defendant, by and through defendant’s counsel of record GRIFFIN ESTES, hereby stipulate as follows:

20          1.     By previous order, Mr. Baptista was released on pretrial conditions. ECF Dckt. # 14.

21          2.     The parties hereby stipulate to modify Condition 7(q), set forth in ECF Dckt. # 14.

22 Pretrial services has been notified of this modification and has no objection.

23                 a)      Condition 7(q) currently requires Mr. Baptista to participate in the location

24          monitoring program and be subject to home incarceration. The only exceptions to leave the home

25          are for medical needs and for court appearances as approved by the pretrial services officer.

26                 b)      The parties hereby stipulate to modify condition 7(q) so that Ms. Baptista must:

27          “remain inside your residence at all times except for medical needs or treatment, meetings with

28          your lawyer, and court appearances pre-approved by the PSO. Further, you may attend an



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 1          educational intake appointment at 1:30 pm on 7/8/24, at 5058 Jones Street, Classroom 26, in

 2          Mariposa, CA, 95338. You must return to your home before 4:00 p.m.”

 3

 4          IT IS SO STIPULATED.

 5

 6
      Dated: June 28, 2024                                  PHILLIP A. TALBERT
 7                                                          United States Attorney
 8
                                                            /s/ Arin Heinz
 9                                                          ARIN HEINZ
                                                            Assistant United States Attorney
10

11
      Dated: June 28, 2024                                  /s/ Griffin Estes
12                                                          GRIFFIN ESTES
                                                            Counsel for Defendant
13
                                                            Nathan Thomas Baptista
14

15                                                   ORDER
16          GOOD CAUSE APPEARING, the above stipulation to modify Mr. Baptista conditions of
17 release is hereby accepted and adopted as the order of this Court. All other orders remain in full force

18 and effect.

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20 IT IS SO ORDERED.
21      Dated:     June 28, 2024                             /s/ Barbara A. McAuliffe              _
22                                                    UNITED STATES MAGISTRATE JUDGE

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